         CASE 0:20-cv-01302-WMW-DTS Doc. 244 Filed 10/29/21 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                                  District of Minnesota


Jared Goyette, Craig Lassig, Communications               JUDGMENT IN A CIVIL CASE
Workers of America, The, Tannen Maury,
Katie Nelson, Stephen Maturen, Edward Ou,
Timothy Evans, Chris Tuite,
                                  Plaintiffs,
v.                                                        Case Number: 20-cv-1302 WMW/DTS
City of Minneapolis, Medaria Arradondo,
Robert Kroll, John Harrington, Matthew
Langer, John Does, David Hutchinson, Joseph
Dwyer,

                                  Defendants.




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

1. Plaintiffs’ motion for a preliminary injunction, (Dkt. 118), is GRANTED.

2. Defendants Minnesota Department of Public Safety Commissioner John

Harrington, in his individual and official capacity; Minnesota State Patrol Colonel Matthew

Langer, in his individual and official capacity; their agents, servants, employees and

representatives (collectively, the State Defendants); and all other persons who are in active

concert or participation with the State Defendants, are hereby enjoined from:

a. arresting, threatening to arrest, or using physical force—including
       CASE 0:20-cv-01302-WMW-DTS Doc. 244 Filed 10/29/21 Page 2 of 4




through use of flash bang grenades, non-lethal projectiles, riot batons, or any

other means—directed against any person whom they know or reasonably

should know is a Journalist (as defined in Paragraph 4 below), unless the

State Defendants have probable cause to believe that such individual has

committed a crime. For purposes of this Order, such persons shall not be

required to disperse following the issuance of an order to disperse, and such

persons shall not be subject to arrest for not dispersing following the issuance

of an order to disperse. Such persons shall, however, remain bound by all

other laws;

b. using chemical agents directed against any person whom they know

or reasonably should know is a Journalist, including but not limited to

mace/oleoresin capsicum spray or mist/pepper spray/pepper gas, tear gas,

skunk, inert smoke, pepper pellets, xylyl bromide, and similar substances,

unless such Journalist presents an imminent threat of violence or bodily harm

to persons or damage to property; and

c. seizing or intentionally damaging any photographic equipment,

audio-recording or video-recording equipment, or press passes in the

possession of any person whom the State Defendants know or reasonably

should know is a Journalist, or ordering such person to stop photographing,

recording, or observing a protest, unless the State Defendants are lawfully

seizing that person consistent with this Order. Except as expressly provided

in Paragraph 3 below, the State Defendants must return any seized equipment
        CASE 0:20-cv-01302-WMW-DTS Doc. 244 Filed 10/29/21 Page 3 of 4




or press passes immediately upon release of a person from custody.

3. If any State Defendant, agent or employee of the State Defendants, or any

person acting under the State Defendants’ direction seizes property from a Journalist who

is lawfully arrested consistent with this Order, such State Defendant shall, as soon

thereafter as is reasonably possible, make a written list of seized property and shall provide

a copy of that list to the Journalist. If property seized in connection with the lawful arrest

of a Journalist is needed for evidentiary purposes, the State Defendants shall promptly seek

a search warrant, subpoena, or other court order to authorize the continued seizure of such

property. If such a search warrant, subpoena, or other court order is denied, or if property

seized in connection with an arrest is not needed for evidentiary purposes, the State

Defendants shall immediately return the seized property to its rightful possessor.

4. To facilitate the State Defendants’ identification of Journalists protected

under this Order, the following shall be considered indicia of being a Journalist: visual

identification as a member of the press, such as by carrying a professional or authorized

press pass or wearing a professional or authorized press badge or other official press

credentials or distinctive clothing that identifies the wearer as a member of the press. These

indicia are not exclusive, and a person need not exhibit every indicium to be considered a

Journalist under this Order. The State Defendants shall not be liable for unintentional

violations of this Order in the case of an individual who does not carry or wear a press pass,

badge, or other official press credential or distinctive clothing that identifies the wearer as

a member of the press.

5. The State Defendants are not precluded by this Order from issuing otherwise
        CASE 0:20-cv-01302-WMW-DTS Doc. 244 Filed 10/29/21 Page 4 of 4




lawful crowd-dispersal orders. The State Defendants shall not be liable for violating this

injunction if a Journalist is incidentally exposed to crowd-control devices after remaining

in the area where such devices were deployed in conjunction with the enforcement of an

otherwise lawful dispersal order.

6. To promote compliance with this Order, the State Defendants shall provide

copies of this Order, in either electronic or paper form, within 48 hours, to: (a) all

employees, officers, and agents of the State Defendants with any supervisory or command

authority over any person who is engaged in the law enforcement response to civil unrest

or protests covered by Journalists; and (b) all other persons who the State Defendants have

reason to believe are in active concert or participation with the State Defendants in the law

enforcement response to civil unrest or protests covered by Journalists.

7. Plaintiffs need not provide any security pursuant to Rule 65(c) of the Federal

Rules of Civil Procedure.

8. This Order shall expire upon the entry of final judgment resolving all of

Plaintiffs’ claims on the merits, unless otherwise provided by further order of the Court.


    Date: 10/29/2021                                             KATE M. FOGARTY, CLERK
